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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
KAMON ROSS, *
individually, *
*
Plaintiff, *
*

ve. * Case No.
*
VAG BRANDON & *
ASSOCIATES, LLC, *
a limited liability company, *

%

Defendant.

 

COMPLAINT

Plaintiff KAMON ROSS (“ROSS” or “Plaintiff’) hereby sues Defendant,
VAG BRANDON & ASSOCIATES, LLC, a limited liability company, (hereinafter
“Defendant”) pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et
seq. (*ADA”), and its implementing regulations, the ADA’s Accessibility
Guidelines, 28 C.F.R. Part 36 (“ADAAG”) and alleges as follows:

JURISDICTION AND PARTIES
1, This is an action for declaratory and injunctive relief pursuant to Title

Il of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff's claims pursuant to 42 U.S.C.

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§ 12181 et seq., based upon Defendant, VAG BRANDON & ASSOCIATES, LLC,
failure to remove physical barriers to access and violations of Title II] of the ADA.

2. Venue is properly located in the Northern District of Georgia pursuant
to 28 U.S.C. § 1391(b) because venue lies in the judicial district of the property situs
or the judicial district in which a substantial part of the events or omissions giving
rise to Plaintiff's claims occurred. The Defendant’s property is located in and does
business within this judicial district and all events giving rise to this lawsuit occurred
in this judicial district.

3. Plaintiff, KAMON ROSS, is and has been at all times relevant to the
instant matter, a natural person residing in Georgia and is sui juris.

4. Plaintiff is an individual with disabilities as defined by the ADA.

5. Plaintiff is substantially limited in performing one or more major life
activities, including but not limited to: walking and standing.

6. Plaintiff uses a wheelchair for mobility purposes.

7. Plaintiff is also an independent advocate of the rights of similarly
situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff's
civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiffs motivation to return to
a location, in part, stems from a desire to utilize ADA litigation to make his home

community more accessible for Plaintiff and others; and pledges to do whatever is

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necessary to create the requisite standing to confer jurisdiction upon this Court so an
injunction can be issued correcting the numerous ADA violations on the Subject
Property, including returning to the Subject Property as soon as it is accessible
(“Advocacy Purposes”).

8. Defendant, VAG BRANDON & ASSOCIATES, LLC, is a limited
liability company conducting business in the State of Georgia and within this judicial
district.

FACTUAL ALLEGATIONS
9. On or around March of 2021, Plaintiff attempted to but was deterred
from patronizing, and/or gaining equal access as a disabled patron to the China
Dragon restaurant located at 2905 Peachtree Road Atlanta, GA 30305 (“Subject
Facility”, “Subject Property”).

10. VAG BRANDON & ASSOCIATES, LLC, is the owner, lessor, and/or
operator/lessee of the real property and improvements that are the subject of this
action, specifically the China Dragon restaurant, including vehicular parking and
common exterior paths: of travel within the site identified by the Fulton County
Assessor parcel identification number 17 010000010564 (“Subject Facility”,
“Subject Property”).

11. Plaintifflives within fifteen (25) miles of the Subj ect Property. Because

the Subject Property is located on Peachtree Road, an Atlanta thoroughfare that he

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frequents routinely, he is routinely where the Subject Property is located and travels
in and about the immediate area of the Subject Property numerous times every
month, if not every week.

12. Plaintiff's access to the Subject Property and/or full and equal
enjoyment of the goods, services, facilities, privileges, advantages and/or
accommodations offered therein were denied and/or limited because of his
_ disabilities, and he will be denied and/or limited in the future unless and until
Defendant, VAG BRANDON & ASSOCIATES, LLC, is compelled to remove the
physical barriers to access and correct the ADA violations that exist at the Subject
Property, including those set forth in this Complaint.

13.  Plaintiffhas visited, i.c. attempted to patronize; the Subject Property on
multiple prior occasions, and at least once before as a patron and advocate for the
disabled. Plaintiff intends on revisiting the Subject Property within six months of the
- filing of this Complaint or sooner, as soon as the barriers to access detailed in this
Complaint are removed. The purpose of the revisit is to be a regular patron, to.
determine if and when the Subject Property is made accessible, and to maintain
standing for this lawsuit for Advocacy Purposes.

14. Plaintiff intends on revisiting the Subject Property to enjoy the same
experiences, goods, and services available to Defendant’s non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

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expose himself to the ongoing barriers to equal access and engage in the futile
gesture of attempting to patronize the Subject Property, a business of public
accommodation known to Plaintiff to have numerous and continuing barriers to
equal access for wheelchair users,

15. Plaintiff recently traveled to the Subject Property as a patron and as an
independent advocate for the disabled, encountered and/or observed the barriers to
access that are detailed in this Complaint, engaged those barriers where physically.
possible, suffered legal harm and legal injury, and will continue to suffer such harm
and injury as a result of the illegal barriers to equal access present at the Subject
Property.

COUNT I- CLAIM FOR INJUNCTIVE RELIEF
(Against Defendant for ADA Violations)

16. The effective date of Title Ii of the ADA was January 26, 1992 (or
January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of
$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

17. The Subject Property is a public accommodation and _ service
establishment.

18. Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

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19. Public accommodations were required to conform to these regulations
by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer
employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28
C.F.R. § 36.508(a).

20. The Subject Property must be, but is not, in compliance with the ADA
and the ADAAG.

21. Plaintiff has attempted to, and has to the extent possible, accessed the
Subject Property in his capacity as a patron at the Subject Property and as an
independent advocate for the disabled, but could not fully do so because of his
disabilities resulting from the physical barriers to access, dangerous conditions and
ADA violations that exist at the Subject Property that preclude and/or limit his
access to the Subject Property and/or the goods, services, facilities, privileges,
advantages and/or accommodations offered therein, including those barriers,
conditions and ADA violations more specifically set forth in this Complaint.

22. Plaintiff intends to visit the Subject Property again in the very near
future as a patron and as an independent advocate for the disabled, in order to utilize
all of the goods, services, facilities, privileges, advantages and/or accommodations.

commonly offered to able-bodied patrons of the Subject Property but will be unable
to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

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and/or limit his access to the Subject Property and/or the goods, services, facilities,
privileges, advantages and/or accommodations offered therein, including those —
barriers, conditions and ADA violations more specifically set forth in this
Complaint.

23. Defendant, VAG BRANDON & ASSOCIATES, LLC, has
discriminated against Plaintiff (and others with disabilities) by denying his access
to, and full and equal enjoyment of the goods, services, facilities, privileges,
advantages and/or accommodations of the Subject Property, as prohibited by, and
by failing to remove architectural barriers as required by, 42 U.S.C. §
12182(b)(2)(A)(iv).

24. Defendant, VAG BRANDON & ASSOCIATES, LLC, will continue to
discriminate against Plaintiff and others with disabilities unless and until VAG
BRANDON & ASSOCIATES, LLC, is compelled to remove al! physical barriers
that exist at the Subject Property, including those specifically set forth herein, and
make the Subject Property accessible to and usable by Plaintiff and other persons
with disabilities.

25. A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff's access to the Subject Property and the full and equal enjoyment

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of the goods, services, facilities, privileges, advantages and accommodations of the
Subject Property include, but are not limited to:

ACCESSIBLE ROUTES/PARKING
(Exterior)

a. The paint delineating the accessible parking spaces and
access aisles is not being maintained so that it clearly
marks the accessible parking location in violation of 28
CFR § 36.211, Section 4.6 of the 1991 ADAAG, and
Section 502.3.3 of the 2010 ADAAG. This violation
made it dangerous for Plaintiff to utilize the parking
facility at the Subject Property and caused Plaintiff
undue upset and loss of opportunity.

b. The parking spaces on the shortest accessible route to
the accessible entrance are not level and have areas of
pitted and/or broken pavement because of Defendant’s
practice of failing to inspect and maintain the parking
surface in violation of 28 CFR § 36.211, Sections 4.5.1
and 4.6.3 of the 1991 ADAAG and Sections 302 and
502.4 of the 2010 ADAAG. These violations made it
dangerous for Plaintiff to utilize the parking facility at
the Subject Property and caused Plaintiff undue upset
and loss of opportunity.

¢. The plaintiff could not safely utilize the parking facility
because the designated accessible parking space is not
level in all directions because of Defendant’s practice
of failing to inspect and maintain the parking surface in
violation of 28 CFR § 36.211, Section 4.6.3 of the 1991
ADAAG and Section 502.4 of the 2010 ADAAG.
These violations made it dangerous and difficult for
Plaintiff to exit and re-enter his vehicle while parked at
the Subject Property.

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d. The visible upright signage (displaying the International Symbol of
Accessibility) designating parking spaces as accessible is mounted
too low in violation of Section 4.6 of the 1991 ADAAG and
Section 502 of the 2010 ADAAG. This violation made it
dangerous for Plaintiff to utilize the parking facility at the Subject
Property and caused Plaintiff undue upset and loss of opportunity.

ACCESSIBLE ROUTES

e. There is no accessible route provided within the site
from the public sidewalk which serves the facility.
Violation: There is no accessible route connecting the
public sidewalk serving the subject facility and any
accessible entrance(s) in violation of Section 4.3.2 of
the 1991 ADAAG and Section 206.2.1 of the 2010
ADAAG. This violation prevented equal access to the
Subject Property and caused Plaintiff undue upset and
loss of opportunity.

INTERIOR

f. The bar is too high for wheelchair users. Violation: The sales .
counter exceeds the maximum allowable height of 36 inches from
the finish floor in violation of Section 7.2 of the 1991 ADAAG and
Sections 227.3 and 904.4 of the 2010 ADAAG. This violation
prevented access to Plaintiff equal to that of able-bodied
individuals and caused Plaintiff undue upset and loss of
opportunity.

MAINTENANCE PRACTICES

g. Defendant has a practice of failing to maintain the
accessible features of the facility, creating barriers. to’
access for the Plaintiff, as set forth herein, in violation
of 28 CFR § 36.211. This practice prevented access to
the plaintiff equal to that of Defendant’s able-bodied
customers causing Plaintiff loss of opportunity,
anxiety, humiliation and/or embarrassment.

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h. Defendant has a practice of failing to maintain the

~ accessible elements at the Subject Facility by
neglecting its continuing duty to review, inspect, and
discover transient accessible elements which by the
nature of their design or placement, frequency of usage,
exposure to weather and/or other factors, are prone to
shift from compliant to noncompliant so that said
elements may be discovered and _ remediated.
Defendant failed and continues to fail to alter its
inadequate maintenance practices to prevent future
recurrence of noncompliance with dynamic accessible
elements at the Subject Facility in violation of 28 CFR
§ 36.211, the 1991 ADAAG, and the 2010 ADAAG.
These violations, as set forth hereinabove, made it
impossible for Plaintiff to experience the same access
to the goods, services, facilities, privileges, advantages
and accommodations of the Subject Facility as
Defendant’s able-bodied patrons and caused Plaintiff
loss of opportunity, anxiety, embarrassment and/or
humiliation.

i. Defendant has failed to modify its discriminatory
maintenance practices to ensure that, pursuant to its
continuing duty under the ADA, the Subject Property
remains readily accessible to and usable by disabled
individuals, including Plaintiff, as set forth herein, in
violation of 28 CFR § 36.302 and 36.211. This failure
by Defendant prevented access to the plaintiff equal to
that of Defendant’s able-bodied customers causing
Plaintiff loss of opportunity, anxiety, humiliation
and/or embarrassment.

26, The discriminatory violations described above are not an exhaustive list
of the Defendant’s current barriers to equal access and violations of the ADA
because Plaintiff was unable to access and assess all areas of the subject premises

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due to the architectural barriers encountered. A complete list of the subject location’s
ADA violations affecting the Plaintiff as a wheelchair user, and the remedial
measures necessary to remove same, will require an on-site inspection by Plaintior S
representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff
personally encounters discrimination, as alleged above, or learns of discriminatory
violations through expert findings of personal observation, he has actual notice that
the defendant does not intend to comply with the ADA.

27. The Defendant has a practice of failing to maintain the accessible
elements at the Subject Property by neglecting its continuing duty to review, inspect,
and discover transient accessible elements which by the nature of its design or
placement, frequency of usage, exposure to weather and/or other factors, are prone
to shift from compliant to noncompliant, so that said elements are discovered and
remediated. Defendant failed and continues to fail to alter its inadequate
maintenance practices to prevent future recurrence of noncompliance with dynamic
accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and
36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,
asa wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

28. Accessible elements at the Subject Property have been altered and/or

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constructed since 2010.

29. The foregoing violations are violations of the 1991 ADAAG, and the
2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the
2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of
the alleged violations set forth herein can be modified to comply with the 1991
ADAAG standards.

30. The removal of the physical barriers, dangerous conditions and ADA -
violations alleged herein is readily achievable and can be accomplished and carried
out without significant difficulty or expense. 42 U.S.C. § 12182(b)2)(A)(iv); 42
U.S.C. § 12181(9); 28 C.F.R. § 36.304.

31. Each of the violations alleged herein is readily achievable to modify to
bring the Subject Property into compliance with the ADA.

32. Removal of the physical barriers and dangerous conditions present at
the Subject Property is readily achievable because of the site conditions at the
Subject Property, the structural design of the subject facility, and the straightforward
nature of the necessary modifications.

33. To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

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Section 190 of the IRS Code provides a tax deduction for all business owners,
including the Defendant.

34. Removal of the physical barriers and dangerous conditions at the
Subject Property is readily achievable because of the relative low cost of the
necessary modifications and the Defendant has the financial resources to make the
modifications, including the financial assistance made available to Defendant by the
government pursuant to Section 44 and/or Section 190 of the IRS Code.

35. By continuing to maintain and/or operate the Subject Property with
discriminatory conditions in violation of the ADA, Defendant contributes to
Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and
equal enjoyment of the goods, services, facilities, privileges, and accommodations .
available to able bodied individuals of the general public.

36. Defendant is required to remove the existing architectural barriers to
the physically disabled when such removal is readily achievable for its places of
public accommodation that have existed prior to January 26, 1992, 28 CFR
36,304(a); additionally, if there has been an alteration to Defendant’s place of public
accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily
accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402, and finally, if the Defendant’s facilities were designed

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and constructed for first occupancy subsequent to January 26, 1993, as defined in 28
CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable
by individuals with disabilities as defined by the ADA. To date, Defendant has failed
to comply with this mandate. |

37, Plaintiff is without adequate remedy at law and is suffering irreparable
harm and reasonably anticipates that he will continue to suffer irreparable harm
unless and until Defendant, VAG BRANDON & ASSOCIATES, LLC, is required
to remove the physical barriers, dangerous conditions and ADA violations that exist.
at the Subject Property, including those alleged herein. Considering the balance of
hardships between the Plaintiff and Defendant, a remedy in equity is warranted.

38. Plaintiffs requested relief serves the public interest.

39,  Plaintiff’s counsel is entitled to recover its reasonable attorneys’ fees
and costs of litigation from Defendant, VAG BRANDON & ASSOCIATES, LLC,
pursuant to 42 U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied
full and equal access to the subject premises, as provided by the ADA unless the
injunctive relief requested herein is granted.

40. Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority
to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to
make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

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modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

36.211.

WHEREFORE, the Plaintiff prays as follows:

A.

That the Court find Defendant, VAG BRANDON &
ASSOCIATES, LLC, in violation of the ADA and
ADAAG;

That the Court enter an Order requiring Defendant, VAG
BRANDON & ASSOCIATES, LLC, to (i) remove the
physical barriers to access and (ii) alter the Subject
Property to make the Subject Property readily accessible
to and useable by individuals with disabilities to the full
extent required by Title III of the ADA;

That the Court enter an Order directing Defendant,
pursuant to 28 C.F.R. §36.211, to fulfill its continuing duty
to maintain its accessible features and equipment so that
the facility remains accessible to and useable by
individuals with disabilities to the full extent required by
Title III of the ADA;

That the Court enter an Order directing Defendant to
implement and carry out effective policies, practices, and
procedures to maintain the accessible features and
equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
§36.211.

That the Court enter an Order directing Defendant to
evaluate and neutralize its policies and procedures towards
persons with disabilities for such reasonable time so as to
allow them to undertake and complete corrective
procedures;

An award of attorneys’ fees, costs (including expert fees),
and litigation expenses pursuant to 42 U.S.C. § 12205 and

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an award of monitoring fees associated with insuring that
the Defendant is in compliance with the ADA.

G. An award of interest upon the original sums of said award
of attorney’s fees, costs (including expert fees), and other

expenses of suit; and

H. Such other relief as the Court deems just and proper,
and/or is allowable under Title III of the Americans with

Disabilities Act.

Dated this the 12th day of April, 2021.

Respectfully submitted,

By: LECLE-—D

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Georgia State Bar No.: 597899

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